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                                     NOTICE OF HEARING




                   UNITED STATES DISTRICT COURT
                                          FOR THE
                                    DISTRICT OF VERMONT



United States of America

       v.                                         Case No. 5:02-cr-68

Michael Bliss



TAKE NOTICE that the above-entitled case has been scheduled at 11:00 a.m. on Monday,
January 10, 2022 in Burlington, Vermont, before Honorable Geoffrey W. Crawford, District
Judge, for a Status Conference.


Location: Courtroom 110                                  JEFFREY S. EATON, Clerk
                                                         By: /s/ Elizabeth S. Morris
                                                         Deputy Clerk
                                                         1/7/2022

TO:

Barbara A. Masterson, AUSA

Office of Federal Public Defender

Sunnie Donath, Court Reporter
